                  UNITED STATES DISTRICT COURT
           FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       CHARLOTTE DIVISION

UNITED STATES OF AMERICA,     ) DOCKET NO. 3:08-cr-219
                              )
     vs.                      )
                              )
EUGENE MARTA LANEY,           )
                              )
              Defendant.      )
_____________________________ )

     TRANSCRIPT OF SUPERVISED RELEASED REVOCATION HEARING
           BEFORE THE HONORABLE ROBERT J. CONRAD, JR
              UNITED STATES DISTRICT COURT JUDGE
            TUESDAY, JANUARY 26, 2021 AT 3:50 P.M.




APPEARANCES:
On Behalf of the Government:
     ERIK AUGUST LINDAHL, ESQ.,
     Assistant United States Attorney
     227 West Trade Street, Suite 1700
     Charlotte, North Carolina 28202


On Behalf of the Defendant:
     COREY CHRISTOPHER McMANUS, ESQ.,
     309 Lancaster Avenue
     Monroe North Carolina 28112




                        LAURA ANDERSEN, RMR
                          Court Reporter
                           PO Box 23343
                  Charlotte, North Carolina 28227

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1                             PROCEEDINGS
2               THE COURT: Mr. McManus, when you're ready just let
3    me know.
4               MR. McMANUS: Yes, sir.
5               Your Honor, we're ready to proceed.
6               THE COURT: All right. We are here in the matter of
7    United States V. Eugene Marta Laney on a petition to revoke
8    supervised release in which the government is alleging five
9    different violations of the conditions of supervised release;
10   two in the petition, and three in the addendum.
11              Mr. McManus, are these violations contested?
12              MR. McMANUS: Your Honor, we are admitting to the
13   first two violations. And from my understanding, the
14   government will be dismissing Violations Three, Four, and Five
15   that appeared on the addendum.
16              MR. LINDAHL: That's correct, Your Honor.
17              THE COURT: Very well. Then based upon the
18   admissions to One and Two, and the information contained in
19   the petition, the Court will find that those violations have
20   been established.
21              Mr. McManus, in light of that finding, the Court is
22   glad to hear from you on what it should do.
23              MR. McMANUS: Yes, Your Honor.
24              There is an agreement between the defendant and the
25   government in this matter. The agreement that was


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1    contemplated for the Court, this is a Grade A violation, and
2    Mr. Laney's guideline range is 30 to 37 months. The agreement
3    would be the top end of the guideline range of 37 months,
4    followed by an additional 24 months of supervised release.
5               The government has allowed me to say on the record
6    that if Mr. Laney does complete that first 18 months
7    successfully, and he is in compliance with all the terms, and
8    there is no objection from his probation officer, that they
9    would not be in objection to an early termination at that
10   time. They allowed me to put that on the record.
11              Along with this agreement, Your Honor, there are
12   some charges in Mecklenburg County court that the district
13   attorney's office is dismissing. There were some drug charges
14   that Mr. Laney was charged with due to the conduct that led to
15   this violation being filed. And the government has also
16   informed me that they will not be seeking a federal indictment
17   based on the conduct of this supervised release violation
18   being filed.
19              Right now Mr. Laney is a resident of Charlotte,
20   North Carolina. He actually did fairly well on supervised
21   release, Your Honor. He was on supervised release -- this
22   period commenced June 3, 2017, and he was arrested around
23   March 13, 2020. So he completed roughly 33 months on
24   supervised release before that happened.
25              His wife has been in contact with me and has been


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1    very supportive in this matter. When he was first put on
2    supervised release he was actually staying with his wife, and
3    I think that was in the Eastern District, and his supervision
4    went well.
5               Your Honor, he came here to Charlotte and things
6    didn't go as well. His wife actually told me, if he would
7    still have been home this probably wouldn't have happened.
8    She is willing to let him come back home. So the plan is to
9    do the active portion and then have the supervised release
10   transferred. I think that she is in the Middle District now.
11   He will try to have the supervised release transferred there,
12   but I do think that he would do well.
13              Your Honor, we're asking the Court to accept the
14   agreement between the government and Mr. Laney in this matter.
15              THE COURT: Thank you.
16              Mr. Laney, you don't have to say anything but if
17   there is anything you wish to say I'll be glad to hear from
18   you.
19              THE DEFENDANT: No, sir.
20              THE COURT: Mr. Lindahl.
21              MR. LINDAHL: Your Honor, the defense has accurately
22   captured the joint agreement in this case.
23              Your Honor, there's a lot of heroin found in the
24   child's bedroom. The government believes this is an
25   appropriate disposition. We're asking the Court to accept the


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1    agreement.
2               THE COURT: Thank you.
3               Mr. Laney, if you would please stand.
4               I have found that allegation one and two have been
5    established. I'm going to revoke supervised release, order a
6    term of 37 months imprisonment to be followed by an additional
7    term of supervised release of 18 months. The parties
8    indicated a joint recommendation of 24 months with the
9    possibility of an 18-month early termination. Receiving that
10   recommendation but applying it slightly differently, if
11   Mr. Laney complies with the conditions of supervised release
12   in 18 months it's over. If you don't comply with it there
13   will be the ability of the Court to extend it.
14              And so, 37-month sentence, 18 months to follow a
15   second term of supervised release. That's the decision of the
16   Court. I believe that is sufficient but not greater than
17   necessary to accomplish the sentencing purposes made
18   applicable to supervised release hearings.
19              You can appeal that decision. Any notice of appeal
20   must be filed within 14 days from the entry of judgment. If
21   you are unable to pay the cost of an appeal, you may apply for
22   leave to appeal with no cost to you. If you request, the
23   Clerk of Court will prepare and file a notice of appeal on
24   your behalf.
25              I recommend that you talk to Mr. McManus about your


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1    appeal rights, but do you understand them as I just explained
2    them?
3               THE DEFENDANT: (Nodding head affirmatively.)
4               THE COURT: Anything further from either side?
5               MR. McMANUS: No. Thank you, Your Honor.
6               MR. LINDAHL: Your Honor, Probation Riley has a
7    matter related to property seized.
8               PROBATION OFFICER: Your Honor, we did a warrantless
9    search in March. We seized a cell phone. As part of our
10   evidence disposition, I just need to get that over to the
11   correct party. Can I give you this form?
12              THE COURT: You can.
13              PROBATION OFFICER: I'll have it turned over to
14   Mr. McManus and returned to the family. We're fine with that.
15              THE COURT: Very well. This matter is concluded.
16   Mr. McManus is remanded at this time.
17              (The matter is concluded at 3:58 p.m.)
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1                             REPORTER'S CERTIFICATE
2               I, LAURA ANDERSEN, RMR, certify that I was
3    authorized to and did stenographically report the foregoing
4    proceedings and that the transcript is a true and complete
5    record of my stenographic notes to the best of my ability.
6               Dated this the 9th day of February, 2022.
7
8                             S/Laura Andersen
                              LAURA ANDERSEN, RMR
9                             Registered Merit Reporter
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